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                    Exhibit A
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 1                           IN THE UNITED STATES DISTRICT COURT
 2                                 FOR THE DISTRICT OF ARIZONA
 3
         Keith Raniere,                                      No. 22-cv-00561-RCC-PSOT
 4
                                  Plaintiff,                 DECLARATION OF
 5                                                           LORRI MITCHELL
                  vs.
 6
 7       Merrick Garland, US Attorney General, et
         al.,
 8
                                Defendants.
 9
10           I, Lorri Mitchell, pursuant to 28 U.S.C. § 1746, and based upon my personal
11   knowledge and information made known to me from official records reasonably relied
12   upon by me in the course of my employment, hereby make the following declaration
13   relating to the above-titled matter.
14           1.         I am employed by the United States Department of Justice, Federal Bureau
15   of Prisons (Bureau) as a Legal Assistant at the Federal Correctional Complex in Tucson,
16   Arizona (FCC Tucson). I have been employed by the Bureau, in positions of increasing
17   responsibility since April 2012. I have been employed in my current position since
18   February 2013.
19           2.         As part of my official duties, I have access to records maintained by the
20   Bureau in the ordinary course of business, including administrative remedy requests of
21   federal inmates, information maintained in the SENTRY 1 database, and inmate central
22   files. All records attached to this declaration are true and accurate copies of Bureau
23   records maintained in the ordinary course of business.
24
25
26
     1
27     SENTRY is the Bureau’s national database which tracks various data regarding an
     inmate’s confinement, including, but not limited to, an inmate’s institutional history,
28   sentencing information, administrative remedies, and discipline history.
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 1
 2          A.     Administrative Remedy Program
 3          3.     I am familiar with all four levels of the inmate administrative grievance
 4   procedure created by the Bureau Administrative Remedy Program. See 28 C.F.R. §§
 5   542.10 - 542.19.
 6          4.     The Bureau has a four-tiered Administrative Remedy Program for inmate
 7   grievances, which is codified at 28 C.F.R. § 542.10 et seq. The first step is informal
 8   resolution with prison staff. 28 C.F.R. § 542.13(a). Requests for Informal Resolution
 9   Forms (also known as a BP-8) are not assigned a Remedy ID number and are not tracked.
10   The second step is the filing of a formal Request for Administrative Remedy (also known
11   as a BP-9) at the institution in which the inmate is incarcerated. See 28 C.F.R. § 542.14.
12   The BP-9 must be filed within “20 calendar days following the date on which the basis
13   for the Request occurred.” See 28 C.F.R. § 542.14(a). If the inmate feels the response to
14   his BP-9 is not satisfactory, within 20 calendar days of the date the Warden signed the
15   response, the inmate may then appeal the complaint to the Regional Director, by filing a
16   Regional Office Administrative Remedy Appeal (also known as a BP-10). See 28 C.F.R.
17   § 542.15(a). If dissatisfied with the Regional Director’s response, the inmate may appeal
18   to the Director, National Inmate Appeals, in the Office of the General Counsel in
19   Washington D.C., by filing a Central Office Administrative Remedy Appeal (also known
20   as a BP-11). Id. An inmate may not raise in an appeal an issue he did not raise in a lower
21   level filing. See 28 C.F.R. § 542.15(b)(2). The Administrative Remedy Coordinator at
22   any level may reject and return to the inmate without response a Request for
23   Administrative Remedy or appeal that does not meet procedural requirements as outlined
24   in the Code of Federal Regulations. See 28 C.F.R. § 542.17(a).
25          5.     An inmate has not exhausted his administrative remedies until he has
26   properly sought review at all three formal levels. Id.
27
28
                                                  2
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 1          6.     Since July 1990, the Bureau has maintained information related to
 2   administrative complaints filed by inmates under the Bureau Administrative Remedy
 3   Program in SENTRY. One of the many functions of the SENTRY database is to track
 4   administrative remedy complaints and appeals, and it allows one to complete a
 5   computerized search of complaints and appeals filed by a specific inmate.
 6          7.     Each formal complaint (i.e., BP-9, BP-10, and BP-11) is logged into
 7   SENTRY at the receiving location. If the complaint is an initial filing, it receives a
 8   unique Remedy ID Number upon initial entry, which follows the complaint throughout
 9   the appeal process. Each Remedy ID Number also contains an extender that identifies
10   the level of review. The extension F-1 indicates the complaint was filed at the institution
11   level (BP-9). The extension R-1 indicates the complaint or appeal was filed at the
12   regional level (BP-10). The extension A-1 indicates the appeal was filed at the national
13   level (BP-11). So, for example, a formal complaint may be identified as 123456-F1
14   when filed as a BP-9 at the institution level, as 123456-R1 when filed as a BP-10 at the
15   regional level, and as 123456-A1 when filed as a BP-11 at the national level. That is, the
16   unique Remedy ID number follows the complaint through the process but the extension
17   changes to reflect the level at with the complaint is filed. The number at the end of the
18   extension may change if the remedy or appeal is initially rejected 2 and is then re-filed due
19   to a technical problem, such as improper form, failing to include documentation, or
20   improper filing at that level (i.e., 123456-F1; 123456-F2, etc.).
21         8.      Inmates have access to the Code of Federal Regulations and Bureau

22   Program Statements, including Program Statement 1330.18, Administrative Remedy
     Program, through the institution law library and the Electronic Law Library. See
23
     Program Statement 1315.07, Inmate Legal Activities at 4, Att. A at 1-2 (identifying
24
     required main law library materials such as “Title 28 of the Code of Federal Regulations”
25
26
     2
27     Per 28 C.F.R. 542.17(a), the administrative remedy coordinator at any level (BP-9, BP-
     10, and BP-11) may reject and return to the inmate without a response an administrative
28   remedy and/or appeal that “does not meet any other requirements of this part.”
                                                  3
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 1   and “All current Bureau of Prisons Program Statements which contain rules codified in

 2   Chapters III or V of Title 28 of the Code of Federal Regulations” which includes the
     procedures outlined in the Administrative Remedy Program). 3
 3
            9.     When an inmate arrives at USP Tucson, he participates in an Admission
 4
     and Orientation (A&O) Program, during which the inmate is introduced to important
 5
     aspects of the institution and the housing unit to which the inmate is assigned. The A&O
 6
     Program includes instructions on the Bureau’s Administrative Remedy Program, how to
 7
     obtain and submit the appropriate forms, and how to exhaust claims through all levels of
 8
     the Administrative Remedy Program. See Att. 1, USP Tucson Inmate A&O Handbook
 9
     Excerpt (Jan. 2017) at 38-39. Additionally, staff members give new inmates a copy of
10
     the A&O Handbook, which provides valuable information about the institution’s
11
     operations, including the Administrative Remedy Program. Id.
12
            10.    At USP Tucson, to file an administrative remedy or appeal, an inmate may
13
     obtain the appropriate forms from, and submit completed forms to, any Unit Team
14
     member. The Unit Team is comprised of the Unit Manager, Case Manager, Correctional
15
     Counselor, and Unit Secretary. See Att. 1 at 3, 38 (“All Administrative Remedy forms
16
     may be obtained from your assigned Correctional Counselor or Unit Team member.”);
17
     see also 28 C.F.R. § 542.14(c)(1) (Inmates “shall obtain the appropriate form from . . .
18
     institution staff (ordinarily, the correctional counselor.”); see also Att. 2, TCX 1330.18B,
19   Administrative Remedy Program at 3 (“Only unit team members may issue form BP-229,
20   Request for Administrative Remedy (BP-9) to inmates, including those housed in the
21   [SHU]”). While the “Correctional Counselor will initial, date, and write the inmate’s last
22   name on the top right hand section of the form for accountability purposes[,]” there is no
23   requirement that an inmate provide a reason for needing an administrative remedy form
24   in order to obtain that form. See Att. 2 at 3.
25          11.    “An Inmate Request to Staff Member (form BP-S148), commonly called a
26
27   3
      Available at https://www.bop.gov/policy/progstat/1315_007.pdf (last visited on Apr. 26,
28   2023).
                                                      4
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 1   Cop-Out, is used to make a written request to a staff member. Any type of request can be

 2   made with this form[,]” to include if an inmate believes that his Unit Team is not
     providing him with administrative remedy forms or is not properly processing
 3
     administrative remedy forms. See Att. 1 at 38. These requests or “cop-outs” can be
 4
     made to any staff member, including Associate Wardens and the Warden. An inmate
 5
     may file an inmate request to staff (cop-out), informal grievance (BP-8), or formal
 6
     grievance (BP-9, BP-10, or BP-11) while in general population or while housed in the
 7
     SHU. See 28 C.F.R. § 541.31(o) (“You can submit a formal grievance challenging any
 8
     aspect of your confinement in the SHU through the Administrative Remedy Program[.]”).
 9
              12.   “If the inmate reasonably believes the issue is sensitive and the inmate’s
10
     safety or well-being would be placed in danger if the Request became known at the
11
     institution, the inmate may submit the Request directly to the appropriate Regional
12
     Director.” See 28 C.F.R. § 542.14(d)(1); Att. 1 at 39 (“If an inmate believes a complaint
13
     is of a sensitive nature and he would be adversely affected if the complaint became
14
     known to the institution, he may file the complaint directly to the Regional Director.”).
15
              13.   If an inmate has an issue that he wants to bring to the attention of staff, he
16
     can do so via a written request (cop-out) at any time, as detailed above, or during in-
17
     person meetings with multiple Unit Team, and other, staff.
18
              B.    Plaintiff’s Administrative Remedy History
19            14.   On January 21, 2021, inmate Keith Raniere, Federal Register No. 57005-
20   177, received a copy of the A&O Handbook. See Att. 3, Intake Screening Form & A&O
21   Program Checklist (Redacted) at 1. On March 9, 2021, Plaintiff was briefed on the
22   Bureau’s Administrative Remedy Program as part of the A&O Program. Id. at 2.
23            15.   I have reviewed the SENTRY information identifying the number and types
24   of administrative remedies and appeals filed by Mr. Raniere.
25            16.   During Mr. Raniere’s incarceration with the Bureau, he has filed twenty
26 administrative remedies and/or appeals. See Att. 4, SENTRY Administrative Remedy Index
27 at 1-11.
28
                                                    5
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 1           17.    I have reviewed the twenty administrative remedies/appeals submitted by

 2 Plaintiff during his incarceration.
            18.     In Remedy No. 1147194-F1 (BP-9), received on January 9, 2022, Plaintiff
 3
   requested to return to general population. See Att. 4 at 2. This remedy was rejected because
 4
   Plaintiff did not attach the attempt at informal resolution as part of his BP-9 submission. Id.
 5
   He has not filed any appeal to the Office of General Counsel (BP-11) associated with this
 6
   administrative remedy.
 7
            19.     In Remedy No. 1147196-F1 (BP-9), received on January 9, 2022, Plaintiff
 8
   requested to be unrestrained during legal visits. Id. He has not filed any appeals to the Office
 9
   of General Counsel (BP-11) associated with this administrative remedy.
10
            20.     In Remedy No. 1111640-R1 (BP-10), received on February 25, 2022, Plaintiff
11
   appealed disciplinary sanctions imposed with respect to Incident Report No. 3547878. Id. at
12
   3; Att. 5, Remedy No. 1111640 at 1.
13
            21.     In Remedy No. 1111640-A1 (BP-11), received on June 30, 2022, Plaintiff
14
   further appealed disciplinary sanctions imposed with respect to Incident Report No. 3547878.
15
   See Att. 4 at 3; Att. 5 at 9.
16
            22.     In Remedy No. 1133790-F1 (BP-9), received on September 14, 2022, Plaintiff
17
   requested visitation denial information. See Att. 4 at 4. He has not filed an appeal to the
18
   Office of General Counsel (BP-11) associated with this administrative remedy.
19          23.     In Remedy No. 1133798-F1 (BP-9), received on September 14, 2022, Plaintiff
20 requested information about the denial of paralegal on his approved list. Id. See also Att. 6,
21 Remedy No. 1133798 at 2. As reflected below, Plaintiff’s appeal to the Office of General
22 Counsel (BP-11) associated with this administrative remedy was rejected for procedural
23 deficiencies. See Att. 4 at 9.
24           24.    In Remedy No. 1133808-F1 (BP-9), received on September 14, 2022, Plaintiff
25 complained about the loss of his contacts in TRULINCS, an inmate computer system. Id. at
26 5. He has not filed an appeal to the Office of General Counsel (BP-11) associated with this
27 administrative remedy.
28
                                                  6
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 1          25.    In Remedy No. 1137228-F1 (BP-9), received on October 13, 2022, Plaintiff

 2 complained about being restrained in the Special Housing Unit for legal visits and legal calls.
   Id. This remedy was rejected because Plaintiff did not state the basis for his request. Id. He
 3
   has not filed any appeals to the Regional Director (BP-10), or Office of General Counsel (BP-
 4
   11) associated with this administrative remedy.
 5
            26.    In Remedy No. 1139873-F1 (BP-9), received on November 3, 2022, Plaintiff
 6
   requested information. Id. at 6. This remedy was rejected because Plaintiff was limited to
 7
   one request per BP-9 submission. Id. He has not filed any appeals to the Regional Director
 8
   (BP-10), or Office of General Counsel (BP-11) associated with this administrative remedy.
 9
            27.    In Remedy No. 1139878-F1 (BP-9), received on November 3, 2022, Plaintiff
10
   requested information regarding visitors removed from his visiting list. Id. See also Att. 7,
11
   Remedy No. 1139878 at 2. This remedy was rejected because Plaintiff was limited to one
12
   request per BP-9 submission. See Att. 4 at 6. He has not filed any appeal to the Regional
13
   Director (BP-10) associated with this administrative remedy. As reflected below, Plaintiff’s
14
   two appeals to the Office of General Counsel (BP-11) associated with this administrative
15
   remedy were both rejected for procedural deficiencies. Id. at 8-9.
16
            28.    In Remedy No. 1140848-F1 (BP-9), received on November 10, 2022, Plaintiff
17
   requested to be treated like a general population inmate during legal visits. Id. at 7. This
18
   remedy was rejected because Plaintiff failed to state the basis for his request. Id. He has not
19 filed any appeals to the Regional Director (BP-10), or Office of General Counsel (BP-11)
20 associated with this administrative remedy.
21         29.    In Remedy No. 1133798-R1 (BP-10), received on January 31, 2023, Plaintiff
22 appealed to the Regional Director about the denial of a paralegal on his approved list. Id. See
23 also Att. 6 at 3. As reflected below, Plaintiff’s appeal to the Office of General Counsel (BP-
24 11) associated with this administrative remedy was rejected for procedural deficiencies. See
25 Att. 4 at 9.
26          30.    In Remedy No. 1133790-R1 (BP-10), received on January 31, 2023, Plaintiff
27 appealed to the Regional Director about visitation denial information. Id. at 8. He has not
28
                                                  7
      Case 4:22-cv-00561-RCC Document 36-1 Filed 05/01/23 Page 9 of 64




 1 filed any appeals to the Office of General Counsel (BP-11) associated with this appeal.
 2          31.   In Remedy No. 1139878-A2 (BP-11), received on February 8, 2023, Plaintiff
     appealed to the Office of General Counsel (BP-11) regarding his request for information
 3
     regarding visitors removed from his visiting list. Id. at 8. This appeal was rejected because
 4
     Plaintiff was limited to one request per submission. Id. (“DIR” rejection reason is the
 5
     annotation for concurring with the prior rejection reasons); see also Att. 7 at 6.
 6
             32.    In Remedy No. 1139878-A1 (BP-11), received on February 13, 2022, Plaintiff
 7
     appealed to the Office of General Counsel (BP-11) regarding his request for information
 8
     regarding visitors removed from his visiting list. See Att. 4 at 9; Att. 6 at 4. This appeal was
 9
     rejected because Plaintiff was limited to one request per submission. Id. (“DIR” rejection
10
     reason is the annotation for concurring with the prior rejection reasons); Att. 6 at 5.
11
             33.    In Remedy No. 1133798-A1 (BP-11), received on March 7, 2023, Plaintiff
12
     appealed to the Office of General Counsel about the denial of a paralegal on his approved list.
13
     Id. This appeal was rejected because Plaintiff did not provided a copy of his BP-9 and BP-10
14
     and he was instructed to re-submit his appeal in proper form within 15 days from receipt of
15
     the rejection notice. Id. at 9 (“IRQ RAP RSA” annotations for rejection status reason). He
16
     has not re-submitted his appeal to the Office of General Counsel (BP-11) in proper form.
17
             34.    Remedy No. 1147196-R1 (BP-10), received on March 30, 2023, Plaintiff
18
     appealed to the Regional Counsel regarding his request to be unrestrained during legal visits.
19 Id. at 10. This appeal was rejected because he failed to attach his attempt at informal
20 resolution with his submission. Id. He has not filed any appeals to the Office of General
21 Counsel (BP-11) associated with this appeal.
22        35.   In Remedy No. 1133808-R1 (BP-10), received on March 30, 2023, Plaintiff
23 appealed to the Regional Director regarding the loss of his contacts in TRULINCS. Id. This
24 appeal is currently pending a response with a scheduled due date of May 29, 2023. Id. As
25 the BP-10 is still awaiting a response by the Regional Director, Plaintiff has not filed an
26 appeal with the Office of General Counsel (BP-11) associated with this appeal.
27           36.    In Remedy No. 1147194-R1 (BP-10), received on April 13, 2023, Plaintiff
28
                                                    8
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 1 appealed to the Regional Counsel requesting to be returned to general population. Id. at 11.
 2 This appeal was rejected because Plaintiff did not attach the attempt at informal resolution as
     part of his BP-9 submission. Id. (“DIR” rejection reason is the annotation for concurring with
 3
     the prior rejection reasons). He has not filed any appeals to the Office of General Counsel
 4
     (BP-11) associated with this administrative remedy.
 5
             37.    In Remedy No. 1159102-R1 (BP-10), received on April 24, 2023, Plaintiff
 6
     appealed to the Regional Director about staff. Id. This appeal was rejected because the issue
 7
     raised was not deemed to be sensitive and the submission was returned to him. Id. (“SEN”
 8
     annotation for rejection status reason). He has not filed any appeals to the Office of General
 9
     Counsel (BP-11) associated with this appeal.
10
             38.    Of the four appeals Plaintiff has filed with the Office of General Counsel (BP-
11
     11), Remedy No. 1111640-A1 pertained to his appeal of disciplinary sanctions imposed on
12
     October 26, 2021, and is unrelated to the causes of action in this litigation. See Att. 5. The
13
     remaining three appeals (Remedy Nos. 1139878-A2, 1139878-A1, and 1133798-A1) have
14
     been rejected for procedural reasons as reflected above and Plaintiff has not re-filed or cured
15
     those filing deficiencies. See Atts. 6-7.
16
             39.    Therefore, Plaintiff has not properly filed any appeals, in accordance with 28
17
     C.F.R. § 542.15(a), with the final level of the Administrative Remedy Program (Office of
18
     General Counsel (BP-11)) regarding his lack of access to legal calls, lack of access to legal
19 visits, denial of Mr. de la Garza, denial of social visitation, denial of Suneel Chakravorty, his
20 general access to his attorneys, or any other cause of action in this litigation.
21    //
22    //
23    //
24    //
25    //
26    //
27    //
28
                                                    9
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                 Exhibit A
                Attachment 1
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                   INMATE
           ADMISSION & ORIENTATION
                  HANDBOOK




                 UNITED STATES PENITENTIARY
                      TUCSON, ARIZONA

UPDATED: January 2017




                                     1                      Ex. A, Att. 1, p. 1
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                                               INTRODUCTION

USP Tucson is a Sex Offender Management Program (SOMP) institution. A primary goal of SOMP institution is
to reduce the need to place sexual offenders in protective custody, and to create an institution climate conducive to
voluntary participation in treatment. To achieve this goal, SOMP criterion are applied to all inmates at SOMP
designated institutions to assist in the effective management of the Bureau’s population of sexual offenders and to
provide services that minimize this population’s risk for sexual re-offense. Effective management of sexual
offenders in prisons requires modifications and restrictions in property, mail, correspondence, and visitation for
ALL inmates.

                       INTAKE, CLASSIFICATION AND THE UNIT TEAM
Orientation: Inmates are given a social screening by Unit Management staff and medical screening by Health
Services and Mental Health staff at the time of arrival. Inmates are immediately provided with a copy of the
institution rules and regulations, which include information on inmate rights and responsibilities. It also includes
information on sexual assault and abuse.

Within 28 days of arrival, inmates will participate in the Admission and Orientation (A&O) Program. While in
A&O, inmates are advised of the programs, services, policies and procedures regarding the facility.

Classification Teams (Unit Teams): Each inmate is assigned to a housing unit. A unit is a self-contained
inmate living area that includes both housing sections and office space for unit staff. Each unit is staffed by a Unit
Team directly responsible for the inmates living in the unit. The unit offices are located in the units so staff and
inmates can have access to each other. The unit staff typically includes a Unit Manager, Case Manager,
Correctional Counselor, and Unit Secretary. The Staff Psychologist, Education Advisor and Unit Officer are
considered members of the Unit Team and provide input for classification purposes.

Inmates are assigned to a specific Unit Team. Generally, the resolution of issues or matters of interest while at the
institution are most appropriately initiated with the Unit Team. Unit Team members are available to assist in
many areas, including parole matters, release planning, personal and family problems, counseling and assistance in
setting and attaining goals while in prison. A member of the unit staff will be at the institution from 7:30 a.m. to
9:00 p.m., and during the day on weekends and holidays.

                              GENERAL FUNCTIONS OF UNIT STAFF

Unit Manager: The Unit Manager is the administrative head of the general unit and oversees all unit programs
and activities. The Unit Manager is the Chairperson of the team which comprises the Case Manager, Correctional
Counselor, with input from Education and Psychology staff. The Unit Manager reviews team decisions and may
chair the Unit Discipline Committee (UDC), which is a body that hears disciplinary infractions. The Unit Manager
is ordinarily present during initial classification and subsequent program review(s) in which RRC placement is
discussed.

Case Manager: The Case Manager is responsible for all casework services and prepares classification material,
progress reports, release plans, correspondence, and other materials relating to the inmate’s commitment. The Case
Manager serves as a liaison between the inmate, the administration, and the community.
Correctional Counselor: The Counselor provides counseling and guidance for the inmates of the unit in areas
of institutional adjustment, personal difficulties, and plans for the future. He/She plays a leading role in segments
of unit programs relating to inmate activities. The Unit Counselor may conduct counseling groups for inmates in
his/her unit and/or groups open to the general population.

Unit Secretary: The Unit Secretary performs clerical and administrative duties, to include the preparation of
release paperwork.


                                                          3                                  Ex. A, Att. 1, p. 2
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she will then usually begin serving the previously imposed term of supervised release. If an inmate's RIS
request is denied, the inmate will be provided a statement of reasons for the denial. The inmate may appeal a
denial through the Administrative Remedy Procedure.
Denials by the General Counsel or the Director are final agency decisions and are not appealable. Inmates who
feel their request is of an emergency nature (e.g., a terminal medical condition) may state as such in accordance
with the regulation. (See 28 CFR part 542, subpart B).

                                         PROBLEM RESOLUTION
Inmate Request to Staff Member: An Inmate Request to Staff Member (form BP-S148), commonly called a
Cop-Out, is used to make a written request to a staff member. Any type of request can be made with this form.
Cop-outs may be obtained in the living units from the Correctional Officer on duty. Staff members will answer the
request within a reasonable period of time.

Administrative Remedy Process: The BOP emphasizes and encourages the resolution of complaints. The first
step of the Administrative Remedy process is to attempt an Informal Resolution, utilizing the appropriate
Informal Resolution form. (See the Administrative Remedy Institution Supplement, Attachment A.) When an
informal resolution is not successful, an inmate can access the Administrative Remedy Program. All
Administrative Remedy forms may be obtained from your assigned Correctional Counselor or Unit Team member.

If the issue cannot be informally resolved, a formal complaint may be filed with a Request for Administrative
Remedy (formerly BP-229), commonly referred to as a BP-9. The inmate may place a single complaint or related
issues on the form. If the form contains multiple unrelated issues, the submission will be rejected. The inmate will
return the completed BP-9 to the Correctional Counselor, who will deliver it to the Administrative Remedy
Coordinator (BP-9 will be rejected unless processed through staff). The BP-9 complaint must be filed within
twenty (20) calendar days from the date on which the basis for the incident or complaint occurred, unless it was not
feasible to file within that period of time which should be documented in the complaint. Institution staff has
twenty (20) calendar days to act on the complaint and to provide a written response to the inmate. This time limit
for the response may be extended for an additional twenty (20) calendar days. The inmate will be notified of the
extension.

If the inmate is not satisfied with the Warden’s response to the BP-9, he may file an appeal to the Regional
Director. This appeal must be received in the Regional Office within twenty (20) calendar days from the date of
the BP-9 response. The regional appeal is filed on a Regional Administrative Remedy Appeal (form BP-230),
commonly referred to as a BP-10, and must include the appropriate number of copies of the BP-9 form, the
Warden’s response, and any exhibits.

The regional appeal must be answered within thirty (30) calendar days, but the time limit may be extended an
additional thirty (30) days. The inmate will be notified of the extension.

If the inmate is not satisfied with the Regional Director’s response, he may appeal to the General Counsel in the
Central Office. The national appeal must be made on the Central Office Administrative Remedy Appeal (form BP-
231), commonly referred to as a BP-11, and must have the appropriate number of copies of the BP-9, BP-10, both
responses, and any exhibits. The national appeal must be answered within forty (40) calendar days, but the time
limit may be extended an additional twenty (20) days. The inmate will be notified of the extension.

When filing a Request for Administrative Remedy or an Appeal (BP-9, BP-10, or BP-11), the form should contain
the following information:

             ·   Statement of Facts
             ·   Grounds for Relief
             ·   Relief Requested
             ·


                                                        38                                 Ex. A, Att. 1, p. 3
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Sensitive Complaints: If an inmate believes a complaint is of a sensitive nature and he would be adversely
affected if the complaint became known to the institution, he may file the complaint directly to the Regional
Director. The inmate must explain, in writing, the reason for not filing the complaint with the institution.
If the Regional Director agrees the complaint is sensitive, it shall be accepted and a response to the complaint will
be processed. If the Regional Director does not agree the complaint is sensitive, the inmate will be advised in
writing of that determination and the complaint will be returned. The inmate may then pursue the matter by filing a
BP-9 at the institution.

General Information: When a complaint is determined to be of an emergency and threatens the inmate’s
immediate health or welfare, the reply must be made as soon as possible, usually within seventy-two (72) hours
from the receipt of the complaint.

For detailed instructions see Program Statement 1330.16, Administrative Remedy Program.


                                       DISCIPLINARY PROCEDURES

Inappropriate sexual behavior towards staff and other inmates will not be tolerated. Inappropriate sexual behavior
is defined as verbal or physical conduct perceived as a sexual proposal, act, or threat. Examples of inappropriate
inmate sexual behavior include: displaying sexually explicit materials; making sexually suggestive jokes,
comments, proposals, and gestures; and engaging in stalking, indecent exposure, masturbation, or physical contact.
 Inmates who engage in this type of behavior will be disciplined and sanctioned accordingly, through the inmate
discipline process.

Discipline: The inmate discipline program helps ensure the safety, security, and orderly operation for all inmates.
Violations of BOP rules and regulations are handled by the Unit Discipline Committee (UDC) and, for more
serious violations, the Disciplinary Hearing Officer (DHO). Upon arrival at an institution, inmates are advised of
the rules and regulations and are provided with copies of the Prohibited Acts and Available Sanctions, as well as
local regulations.

Inmate Discipline Information: When a staff member witnesses or reasonably believes an inmate has committed
a prohibited act, a staff member will issue an incident report, a written copy of the charges against an inmate. The
incident report will ordinarily be delivered to the inmate within 24 hours of the time staff became aware of the
inmate’s involvement in the incident. If the incident is referred for prosecution, the incident report is delivered by
the end of the next work day after it has been released for administrative processing. An informal resolution of the
incident may be attempted at any stage of the discipline process. If an informal resolution is accomplished, the
incident report will be removed from the inmate’s central file. Informal resolution is encouraged for all violations
in the Moderate and Low severity categories. Staff may suspend disciplinary proceedings up to two calendar weeks
while informal resolution is undertaken. If an informal resolution is not accomplished, staff will reinstate the
discipline process at the stage at which they were suspended. Violations in the Greatest and High severity
categories cannot be informally resolved and must be forwarded to the DHO for final disposition.

Initial Hearing: Inmates will ordinarily be given an initial hearing within five (5) work days after the incident
report is issued, excluding the day it was issued, weekends, and holidays. The Warden must approve, in writing,
the any extension over five (5) days. The inmate is entitled to be present at the initial hearing and may make
statements and present documentary evidence. The UDC must give its decision in writing to the inmate by the
close of the next work day. The UDC may make findings on Moderate and Low severity offenses. The UDC will
automatically refer Greatest and High severity offenses to the DHO for final disposition.

                                 DISCIPLINE HEARING OFFICER (DHO)
The Disciplinary Hearing Officer (DHO) conducts disciplinary hearings on all Greatest and High severity
prohibited acts and other violations referred by the UDC at the Moderate and Low severity levels. The DHO may
not hear any case not referred by the UDC. An inmate will be provided with advance written notice of the

                                                         39                                  Ex. A, Att. 1, p. 4
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                            Certification


The Attached FCC Tucson Supplement: 1330.18B – Administrative
Remedy Program was certified as current on 5/15/2020.




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                                              U.S. Department of      Justice
                                               Federal Bureau of      Prisons
                                            Federal Correctional      Complex
                                                         Tucson,      Arizona




 Complex                                       OPI:
                                            NUMBER:
                                              DATE:
                                                      EXEC
                                                      TCX 1330.18B


 Supplement
                                                      9/9/2019
                                           SUBJECT:   Administrative
                                                      Remedy Program




1. PURPOSE AND SCOPE.    To implement standard procedures by
which inmates confined at the Federal Correctional Complex
Tucson (FCC Tucson) may seek formal review of complaints or
issues relating to any aspect of their confinement.

2.   DIRECTIVES AFFECTED

  a.    Directives Referenced

       PS   1320.06     Federal Tort Claims Act (08/01/03)
       PS   4500.12     Trust Fund/Deposit Fund Manual (03/15/18)
       PS   5212.07     Control Unit Programs (02/20/01)
       PS   5214.04     HIV Positive Inmates Who Pose Danger to
                        Other, Procedures for Handling of (02/04/98)
       PS 5264.08       Inmate Telephone Regulations (01/24/08)
       PS 5270.09       Inmate Discipline Program (07/08/11)
       PS 5324.12       Sexually Abusive Behavior Prevention and
                        Intervention Program (06/04/15)
       PS 5890.13       SENTRY - National On-Line Automated
                        Information System (12/14/99)
       28 CFR 301       Inmate Accident Compensation
       28 CFR 513       Fees (for records requested pursuant to the
                        Freedom of Information Act (FOIA))

  b.    Directives Rescinded

       TCX 1330.18A     Administrative Remedy Procedures for
                        Inmates (5/03/14)




                                                              Ex. A, Att. 2, p. 2
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3. STANDARDS REFERENCED. American Correctional Association
Standards for Adult Correctional Institutions, 4th Edition: 4-
4214M, 4-4226, 4-4227, 4-4228, 4-4361.

American Correctional Association Performance Based Standards
for Adult Local Detention Facilities, 4th Edition: 4-ALDF-3A-01,
4-ALDF-4C-21.

4.   RESPONSIBILITY

  a. The Executive Assistant is designated as the
Administrative Remedy Coordinator at FCC Tucson. Requests for
Administrative Remedy that are of a sensitive nature or require
emergency attention will be brought to the Warden’s attention by
the Executive Assistant.

  b. The Associate Warden’s Secretary is designated as the
Administrative Remedy Clerk for the Complex.

5. ISSUES IMPROPERLY FILED. All improperly filed issues will
be returned to the inmate with a SENTRY generated rejection
notice. The Administrative Remedy Clerk will initiate the
SENTRY transaction and refer the rejection notice to the unit
team for distribution to the inmate, and file a copy in the
appropriate BP-9 folder.

6.   INITIAL FILINGS

  a. Informal Resolution. The Correctional Counselor has the
responsibility to make every effort to attempt to successfully
informally resolve the issue or complaint with the inmate. The
Unit Manager has the responsibility to review each attempt at
informal resolution and to also attempt to successfully
informally resolve any issue or complaint in the event the
Correctional Counselor was unsuccessful.

Inmates with complaints should complete the first four sections
of Attachment A, Informal Resolution and submit the form to
their respective Correctional Counselor. Inmates will be allowed
to attach one continuation page with their Informal Resolution,
with text on one side.

Unit Team will have (5) working days to provide a response to
the inmate’s informal resolution. If the informal resolution is
regarding a medical concern, Unit Team will have (7) working

                                                            Ex. A, Att. 2, p. 3
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days to provide a response. If attempts at informal resolution
are unsuccessful, the Correctional Counselor shall issue a BP-
229 form, Request for Administrative Remedy (BP-9), upon
inmate’s request.

  b. Filing. Once attempts at informal resolution have proven
unsuccessful, the inmate shall obtain a Form BP-229, Request for
Administrative Remedy (BP-9), from their Correctional Counselor.

The Correctional Counselor will initial, date, and write the
inmate’s last name on the top right hand section of the form for
accountability purposes. Copies of Administrative Remedy forms
will not be accepted.

Inmates may obtain BP-229, BP-230, Request for Administrative
Appeal (BP-10) and BP-231, Central Office Administrative Remedy
Appeal (BP-11) forms from their respective Correctional
Counselor. Only unit team members may issue form BP-229,
Request for Administrative Remedy (BP-9) to inmates, including
those housed in the Special Housing Unit (SHU).

The inmate shall return the completed BP-229 form and the
Informal Resolution documentation to the Correctional Counselor
or Unit Manager. The Unit Manager shall review the inmate’s
complaint and ensure opportunities for informal resolution have
been exhausted. In the Unit Manager’s absence, the acting Unit
Manager will review the BP-229 for compliance.

The Correctional Counselor or other authorized staff member
shall then deliver the BP-229 form, along with the Informal
Resolution documentation, to the Administrative Remedy Clerk the
following workday.

Sentry generated receipts will serve as acknowledgment of a
submission for a Request for Administrative Remedy. The Unit
Manager, or designee, is responsible for ensuring that SENTRY is
checked daily for inmate notices of “receipts”, “extensions”,
and “receipt disregards”. These notices to inmates are to be
printed and forwarded to the inmates addressees.

Unit Discipline Committee (UDC) appeals do not require
completion of the Informal Resolution documentation.   However,
the inmate must attach a copy of the Incident Report (including
UDC findings) with the Administrative Remedy BP-229 form.

                                                           Ex. A, Att. 2, p. 4
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The Correctional Counselor or other authorized staff shall then
deliver the BP-229 form, along with the Incident Report with UDC
hearing documentation, to the Administrative Remedy Clerk by the
following day.

An inmate can withdraw his BP-229 (BP-9), by either submitting
an Inmate Request to Staff Member or by signing a Withdrawal of
Administrative Remedy Appeal form (Attachment C). Both forms
shall include the remedy ID number and the reason for
withdrawal. Upon request, unit staff will assist and/or provide
assistance for inmates in completing the Administrative Remedy
form. Inmates may obtain assistance from another inmate or
other source in preparing a request. Inmates, who are
illiterate, disabled, or who are not functionally literate in
English, will be provided assistance by unit staff.

7.   REMEDY PROCESSING

  a. Response Time Limits. A Request for Administrative Remedy
is considered filed when the information is logged in the SENTRY
database, and a Remedy ID Number is assigned. Once filed, the
Warden’s response is due within 20 calendar days from the date
the complaint is received by the Administrative Remedy Clerk.
If the complaint is determined to be of an emergency nature, the
Warden shall respond within 72 hours from the filing of the
complaint.

Extensions to response time limits, up to 20 days, may be
granted for good cause and inmates will be informed in writing
of such extensions. Unit staff will issue a SENTRY generated
extension memo.

  b. Response Preparation. The Administrative Remedy Clerk
will refer the Administrative Remedy to a department head to
conduct an investigation and prepare the response. Department
heads who have been assigned to review a Request for
Administrative Remedy, will have seven (7) business days from
the date of receipt to review and prepare a draft response. The
formal written response will be prepared, with a copy stored on
the M:drive in the BP-9 folder, which will be provided with the
investigation.

If a staff member assigned to review the request is alleged to
be specifically involved in the complaint, or another reason

                                                            Ex. A, Att. 2, p. 5
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exists why the staff member should not review the complaint, the
staff should immediately (upon receipt) contact the clerk or
coordinator to have the investigation reassigned. Also, members
of a Unit Discipline Committee will not review UDC appeals from
their assigned unit. The review and proposed response to an
emergency complaint is to be completed within 24 hours of
assignment. A response will be forwarded to the inmate within
the time frame established in P.S. 1330.18.

  c. Remedy Form Distribution.    Upon completion of the
response, the Warden’s File Copy will be filed in the
Administrative Remedy Coordinator’s office. Three copies of the
response and any other documentation generated by the inmate
will be forwarded back to the inmate’s unit team for
distribution to the inmate. Unit team will have the inmate sign
an Acknowledgment of Receipt of Administrative Remedy Appeal
(attachment D). Once signed, Unit Team will then return it to
the Administrative Remedy Coordinator's office for filing.

8.   ISSUING DEPARTMENT.    Executive Assistant.




                 B. von Blanckensee           Jared Rardin
                 Complex Warden               Warden




                                                            Ex. A, Att. 2, p. 6
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                                                                                                                        Attachment A
                                           INFORMAL RESOLUTION FORM

NOTICE TO INMATE: You are advised that prior to receiving and filing a Request for Administrative Remedy
Form (BP-9), you MUST attempt to informally resolve your complaint through your Correctional Counselor. Briefly
state the complaint below and list what effort you have made to resolve your complaint informally. Also, please
state names of staff contacted.
Inmate Name:                                        Reg. No.:                           Unit:


Informal resolution form issued by Correctional Counselor on: (date)
INMATE’S COMMENTS: (Inmate MUST FILL OUT items 1-4 and signature block)
1. Complaint:


2.   Efforts made by inmate to informally resolve incident (Which staff members did you talk to and what did they
     say?)


3.   State what action you want staff to take to correct the situation:


Date returned to Correctional Counselor:


Inmate Signature                                                           Reg. No.                              Date
CORRECTIONAL COUNSELOR’S COMMENTS:
Efforts made to informally resolve and staff contacted:
a.   Discussed the complaint with (staff member) --- and he/she stated…
b.   I further explained to the inmate that …
c.   But, the inmate insisted he wanted to file a BP-9 because…



Date informally resolved:                    Signature:
Informal Resolution was not accomplished for the following reason:
After I personally explained that …, he still insisted that he was wronged because…




Unit Manager’s review and Signature:
a.   Can this request be resolved at the Unit Level?
b.   Steps taken to resolve (who was contacted, results of that contact – do not forward for lack of contact):



                                                                                          ____________________________
                                                                                          Unit Manager / Date Signed




                                                                                                                 Ex. A, Att. 2, p. 7
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                                                                              Attachment B

                                           FEDERAL BUREAU OF PRISONS

                                           FEDERAL CORRECTIONAL COMPLEX

                                           TUCSON, ARIZONA


       WITHDRAWAL OF ADMINISTRATIVE REMEDY APPEAL

I___________________________ Reg. No. ________________ further acknowledge by

my signature, withdrawal of my Administrative Remedy Appeal No._________________

dated _________. This is voluntary and not of influence on the part of any staff member

of the Federal Bureau of Prisons (FCC Tucson).


_____________________________
Signature of Inmate

_____________________________
Register Number



Date

_____________________________
Signature/Title of Staff Witness




                                                                        Ex. A, Att. 2, p. 8
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                                                                            Attachment C


                                                FEDERAL BUREAU OF PRISONS

                                                FEDERAL CORRECTIONAL COMPLEX

                                                TUCSON, ARIZONA

                                                              Unit:________________
                                                                 Region
                                                                 Central Office
                                                                 BP-9 Response
                                                                 BP-9 Rejection


                    ACKNOWLEDGMENT OF RECEIPT OF
                    ADMINISTRATIVE REMEDY APPEAL


I, ___________________________, Reg. No.                        , further acknowledge by

my signature, receiving Administrative Remedy Appeal No.                   . The

Administrative Remedy Appeal was hand-delivered to me.

Received on this _____ day of ______________________, 2020.


_____________________________
Signature of Inmate

_____________________________
Register Number



Date

_____________________________
Signature/Title of Staff Witness




                                                                      Ex. A, Att. 2, p. 9
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                 Exhibit A
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                 Exhibit A
                Attachment 4
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  PHXC4         *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *     04-26-2023
PAGE 001 OF                                                        06:47:14
     FUNCTION: L-P SCOPE: REG   EQ 57005-177     OUTPUT FORMAT: FULL
-------LIMITED TO SUBMISSIONS WHICH MATCH ALL LIMITATIONS KEYED BELOW----------
DT RCV: FROM __________ THRU __________ DT STS: FROM __________ THRU __________
DT STS: FROM ___ TO ___ DAYS BEFORE "OR" FROM ___ TO ___ DAYS AFTER DT RDU
DT TDU: FROM ___ TO ___ DAYS BEFORE "OR" FROM ___ TO ___ DAYS AFTER DT TRT
STS/REAS: ______ ______ ______ ______ ______ ______ ______ ______ ______ ______
SUBJECTS: ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____
EXTENDED: _ REMEDY LEVEL: _ _              RECEIPT: _ _ _ "OR" EXTENSION: _ _ _
RCV OFC : EQ ____        ____       ____       ____       ____       ____
TRACK: DEPT: __________ __________ __________ __________ __________ __________
      PERSON: ___        ___        ___        ___        ___        ___
        TYPE: ___        ___        ___        ___        ___        ___
EVNT FACL: EQ ____       ____       ____       ____       ____       ____
RCV FACL.: EQ ____       ____       ____       ____       ____       ____
RCV UN/LC: EQ __________ __________ __________ __________ __________ __________
RCV QTR..: EQ __________ __________ __________ __________ __________ __________
ORIG FACL: EQ ____       ____       ____       ____       ____       ____
ORG UN/LC: EQ __________ __________ __________ __________ __________ __________
ORIG QTR.: EQ __________ __________ __________ __________ __________ __________




G0002       MORE PAGES TO FOLLOW . . .




                                                                Ex. A, Att. 4, p. 1
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  PHXC4           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *     04-26-2023
PAGE 002 OF       *             FULL SCREEN FORMAT             *     06:47:14


REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U    RCV OFC: TCP
REMEDY ID: 1147194-F1      SUB1: 25ZM SUB2:      DATE RCV:    01-09-2022
UNT RCV..:UNIT C         QTR RCV.: C01-108U      FACL RCV: TCP
UNT ORG..:UNIT C         QTR ORG.: C01-108U      FACL ORG: TCP
EVT FACL.: TCP    ACC LEV:                          RESP DUE:
ABSTRACT.: REQUESTING TO RETURN TO GENERAL POPULATION
STATUS DT: 01-09-2023 STATUS CODE: REJ STATUS REASON: OTH
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 01-09-2023
REMARKS..: NEEDS BP-8 PAPERWORK ATTACHED TO BP-9




REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U    RCV OFC: TCP
REMEDY ID: 1147196-F1      SUB1: 25ZM SUB2:      DATE RCV:    01-09-2022
UNT RCV..:UNIT C         QTR RCV.: C01-108U      FACL RCV: TCP
UNT ORG..:UNIT C         QTR ORG.: C01-108U      FACL ORG: TCP
EVT FACL.: TCP    ACC LEV:                          RESP DUE:
ABSTRACT.: REQUESTING TO BE UNRESTRAINED FOR LEGAL VISIT
STATUS DT: 01-09-2023 STATUS CODE: REJ STATUS REASON: OTH
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 01-09-2023
REMARKS..: NEEDS BP-8 PAPERWORK ATTACHED TO BP-9




G0002         MORE PAGES TO FOLLOW . . .




                                                                   Ex. A, Att. 4, p. 2
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  PHXC4           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *     04-26-2023
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REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U   RCV OFC: WXR
REMEDY ID: 1111640-R1      SUB1: 20DM SUB2:      DATE RCV:   02-25-2022
UNT RCV..:UNIT C         QTR RCV.: C01-108U      FACL RCV: TCP
UNT ORG..:UNIT C         QTR ORG.: C01-108U      FACL ORG: TCP
EVT FACL.: TCP     ACC LEV: WXR 1 BOP 1             RESP DUE: TUE 04-26-2022
ABSTRACT.: DHO HEARING 10-26-21 CODE: 396 / 397
STATUS DT: 04-01-2022 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.: 3547878    RCT: P EXT: P DATE ENTD: 02-26-2022
REMARKS..:




REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U   RCV OFC: BOP
REMEDY ID: 1111640-A1      SUB1: 20BM SUB2:      DATE RCV:   06-30-2022
UNT RCV..:UNIT C         QTR RCV.: C01-108U      FACL RCV: TCP
UNT ORG..:UNIT C         QTR ORG.: C01-108U      FACL ORG: TCP
EVT FACL.: TCP     ACC LEV: WXR 1 BOP 1             RESP DUE: MON 08-29-2022
ABSTRACT.: DHO HEARING 10-26-21 CODE: 396 / 397
STATUS DT: 09-30-2022 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.: 3547878    RCT: P EXT: P DATE ENTD: 07-11-2022
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .




                                                                   Ex. A, Att. 4, p. 3
          Case 4:22-cv-00561-RCC Document 36-1 Filed 05/01/23 Page 34 of 64
  PHXC4           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *     04-26-2023
PAGE 004 OF       *             FULL SCREEN FORMAT             *     06:47:14


REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U   RCV OFC: TCP
REMEDY ID: 1133790-F1      SUB1: 18AM SUB2:      DATE RCV:   09-14-2022
UNT RCV..:4 GP           QTR RCV.: Z01-119LAD    FACL RCV: TCP
UNT ORG..:4 GP           QTR ORG.: Z01-119LAD    FACL ORG: TCP
EVT FACL.: TCP    ACC LEV: TCP 1 WXR 1              RESP DUE: MON 10-24-2022
ABSTRACT.: REQUESTING VISIT DENIAL INFORMATION
STATUS DT: 10-07-2022 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.:            RCT: P EXT: P DATE ENTD: 09-14-2022
REMARKS..:




REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U   RCV OFC: TCP
REMEDY ID: 1133798-F1      SUB1: 33EM SUB2:      DATE RCV:   09-14-2022
UNT RCV..:4 GP           QTR RCV.: Z01-119LAD    FACL RCV: TCP
UNT ORG..:4 GP           QTR ORG.: Z01-119LAD    FACL ORG: TCP
EVT FACL.: TCP    ACC LEV: TCP 1 WXR 1              RESP DUE: MON 10-24-2022
ABSTRACT.: RQSTNG INFO DENIAL PHNE CALL PARA LEGAL APPROVE LIST
STATUS DT: 10-07-2022 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.:            RCT: P EXT: P DATE ENTD: 09-14-2022
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .




                                                                   Ex. A, Att. 4, p. 4
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  PHXC4           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *     04-26-2023
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REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U   RCV OFC: TCP
REMEDY ID: 1133808-F1      SUB1: 16GM SUB2:      DATE RCV:   09-14-2022
UNT RCV..:4 GP           QTR RCV.: Z01-119LAD    FACL RCV: TCP
UNT ORG..:4 GP           QTR ORG.: Z01-119LAD    FACL ORG: TCP
EVT FACL.: TCP    ACC LEV: TCP 1 WXR 1              RESP DUE: MON 10-24-2022
ABSTRACT.: LOSS OF CONTACT IN TRULINCS
STATUS DT: 11-17-2022 STATUS CODE: CLO STATUS REASON: XPL
INCRPTNO.:            RCT: P EXT: P DATE ENTD: 09-14-2022
REMARKS..:




REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U    RCV OFC: TCP
REMEDY ID: 1137228-F1      SUB1: 22ZM SUB2:      DATE RCV:    10-13-2022
UNT RCV..:4 GP           QTR RCV.: Z01-119LAD    FACL RCV: TCP
UNT ORG..:4 GP           QTR ORG.: Z01-119LAD    FACL ORG: TCP
EVT FACL.: TCP    ACC LEV:                          RESP DUE:
ABSTRACT.: REGARDING RESTRAINTS IN SHU FOR ATTORNEY VIST OR CAL
STATUS DT: 10-13-2022 STATUS CODE: REJ STATUS REASON: OTH
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 10-13-2022
REMARKS..: WHAT ARE THE BASIS OF YOUR REQUEST




G0002         MORE PAGES TO FOLLOW . . .




                                                                   Ex. A, Att. 4, p. 5
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  PHXC4           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *     04-26-2023
PAGE 006 OF       *             FULL SCREEN FORMAT             *     06:47:14


REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U    RCV OFC: TCP
REMEDY ID: 1139873-F1      SUB1: 25ZM SUB2:      DATE RCV:    11-03-2022
UNT RCV..:4 GP           QTR RCV.: Z01-117LAD    FACL RCV: TCP
UNT ORG..:4 GP           QTR ORG.: Z01-117LAD    FACL ORG: TCP
EVT FACL.: TCP    ACC LEV:                          RESP DUE:
ABSTRACT.: REQUESTING INFORMATION
STATUS DT: 11-03-2022 STATUS CODE: REJ STATUS REASON: OTH
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 11-03-2022
REMARKS..: ONE REQUEST PER BP-9




REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U    RCV OFC: TCP
REMEDY ID: 1139878-F1      SUB1: 18AM SUB2:      DATE RCV:    11-03-2022
UNT RCV..:4 GP           QTR RCV.: Z01-117LAD    FACL RCV: TCP
UNT ORG..:4 GP           QTR ORG.: Z01-117LAD    FACL ORG: TCP
EVT FACL.: TCP    ACC LEV:                          RESP DUE:
ABSTRACT.: REQUESTING INFORMATION ON VISITORS REMOVAL
STATUS DT: 11-03-2022 STATUS CODE: REJ STATUS REASON: OTH
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 11-03-2022
REMARKS..: ONE REQUEST PER BP-9




G0002         MORE PAGES TO FOLLOW . . .




                                                                   Ex. A, Att. 4, p. 6
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REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U    RCV OFC: TCP
REMEDY ID: 1140848-F1      SUB1: 25ZM SUB2:      DATE RCV:    11-10-2022
UNT RCV..:4 GP           QTR RCV.: Z01-117LAD    FACL RCV: TCP
UNT ORG..:4 GP           QTR ORG.: Z01-117LAD    FACL ORG: TCP
EVT FACL.: TCP    ACC LEV:                          RESP DUE:
ABSTRACT.: REQUESTING TO BE TREATED AS GP DURING LEGAL VISIT
STATUS DT: 11-10-2022 STATUS CODE: REJ STATUS REASON: OTH
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 11-10-2022
REMARKS..: WHAT ARE THE BASIS OF YOUR REQUEST




REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U   RCV OFC: WXR
REMEDY ID: 1133798-R1      SUB1: 33EM SUB2:      DATE RCV:   01-31-2023
UNT RCV..:4 GP           QTR RCV.: Z01-120LAD    FACL RCV: TCP
UNT ORG..:4 GP           QTR ORG.: Z01-119LAD    FACL ORG: TCP
EVT FACL.: TCP    ACC LEV: TCP 1 WXR 1              RESP DUE: THU 03-02-2023
ABSTRACT.: RQSTNG INFO DENIAL PHNE CALL PARA LEGAL APPROVE LIST
STATUS DT: 03-06-2023 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.:            RCT: N EXT:   DATE ENTD: 01-31-2023
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .




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REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U   RCV OFC: WXR
REMEDY ID: 1133790-R1      SUB1: 18AM SUB2:      DATE RCV:   01-31-2023
UNT RCV..:4 GP           QTR RCV.: Z01-120LAD    FACL RCV: TCP
UNT ORG..:4 GP           QTR ORG.: Z01-119LAD    FACL ORG: TCP
EVT FACL.: TCP    ACC LEV: TCP 1 WXR 1              RESP DUE: THU 03-02-2023
ABSTRACT.: REQUESTING VISIT DENIAL INFORMATION
STATUS DT: 01-31-2023 STATUS CODE: ACC STATUS REASON:
INCRPTNO.:            RCT: N EXT:   DATE ENTD: 01-31-2023
REMARKS..:




REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U    RCV OFC: BOP
REMEDY ID: 1139878-A2      SUB1: 18AM SUB2:      DATE RCV:    02-08-2023
UNT RCV..:4 GP           QTR RCV.: Z01-120LAD    FACL RCV: TCP
UNT ORG..:4 GP           QTR ORG.: Z01-117LAD    FACL ORG: TCP
EVT FACL.: TCP    ACC LEV:                          RESP DUE:
ABSTRACT.: REQUESTING INFORMATION ON VISITORS REMOVAL
STATUS DT: 03-09-2023 STATUS CODE: REJ STATUS REASON: DIR
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 03-09-2023
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .




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REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U    RCV OFC: BOP
REMEDY ID: 1139878-A1      SUB1: 18AM SUB2:      DATE RCV:    02-13-2023
UNT RCV..:4 GP           QTR RCV.: Z01-120LAD    FACL RCV: TCP
UNT ORG..:4 GP           QTR ORG.: Z01-117LAD    FACL ORG: TCP
EVT FACL.: TCP    ACC LEV:                          RESP DUE:
ABSTRACT.: REQUESTING INFORMATION ON VISITORS REMOVAL
STATUS DT: 02-24-2023 STATUS CODE: REJ STATUS REASON: DIR
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 02-24-2023
REMARKS..:




REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U    RCV OFC: BOP
REMEDY ID: 1133798-A1      SUB1: 33EM SUB2:      DATE RCV:    03-07-2023
UNT RCV..:4 GP           QTR RCV.: Z01-111LAD    FACL RCV: TCP
UNT ORG..:4 GP           QTR ORG.: Z01-119LAD    FACL ORG: TCP
EVT FACL.: TCP    ACC LEV: TCP 1 WXR 1              RESP DUE:
ABSTRACT.: RQSTNG INFO DENIAL PHNE CALL PARA LEGAL APPROVE LIST
STATUS DT: 03-24-2023 STATUS CODE: REJ STATUS REASON: IRQ RAP RSA
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 03-24-2023
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .




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REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U    RCV OFC: WXR
REMEDY ID: 1147196-R1      SUB1: 25ZM SUB2:      DATE RCV:    03-30-2023
UNT RCV..:4 GP           QTR RCV.: C01-118U      FACL RCV: TCP
UNT ORG..:UNIT C         QTR ORG.: C01-108U      FACL ORG: TCP
EVT FACL.: TCP    ACC LEV:                          RESP DUE:
ABSTRACT.: REQUESTING TO BE UNRESTRAINED FOR LEGAL VISIT
STATUS DT: 03-30-2023 STATUS CODE: REJ STATUS REASON: DIR
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 03-30-2023
REMARKS..: NEEDS BP-8 PAPERWORK ATTACHED TO BP-9




REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U   RCV OFC: WXR
REMEDY ID: 1133808-R1      SUB1: 16GM SUB2:      DATE RCV:   03-30-2023
UNT RCV..:4 GP           QTR RCV.: C01-118U      FACL RCV: TCP
UNT ORG..:4 GP           QTR ORG.: Z01-119LAD    FACL ORG: TCP
EVT FACL.: TCP    ACC LEV: TCP 1 WXR 1              RESP DUE: MON 05-29-2023
ABSTRACT.: LOSS OF CONTACT IN TRULINCS
STATUS DT: 03-30-2023 STATUS CODE: ACC STATUS REASON:
INCRPTNO.:            RCT: N EXT: N DATE ENTD: 03-30-2023
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .




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REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U    RCV OFC: WXR
REMEDY ID: 1147194-R1      SUB1: 25ZM SUB2:      DATE RCV:    04-13-2023
UNT RCV..:4 GP           QTR RCV.: C01-118U      FACL RCV: TCP
UNT ORG..:UNIT C         QTR ORG.: C01-108U      FACL ORG: TCP
EVT FACL.: TCP    ACC LEV:                          RESP DUE:
ABSTRACT.: REQUESTING TO RETURN TO GENERAL POPULATION
STATUS DT: 04-13-2023 STATUS CODE: REJ STATUS REASON: DIR
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 04-13-2023
REMARKS..:




REGNO: 57005-177 NAME: RANIERE, KEITH
RSP OF...: TCP UNT/LOC/DST: 4 GP                 QTR.: C01-118U    RCV OFC: WXR
REMEDY ID: 1159102-R1      SUB1: 34ZM SUB2:      DATE RCV:    04-24-2023
UNT RCV..:4 GP           QTR RCV.: C01-118U      FACL RCV: TCP
UNT ORG..:4 GP           QTR ORG.: C01-118U      FACL ORG: TCP
EVT FACL.: TCN    ACC LEV:                          RESP DUE:
ABSTRACT.: STAFF COMPLAINT / SHU
STATUS DT: 04-24-2023 STATUS CODE: REJ STATUS REASON: SEN
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 04-24-2023
REMARKS..:




                20 REMEDY SUBMISSION(S) SELECTED
G0000       TRANSACTION SUCCESSFULLY COMPLETED




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                 Exhibit A
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